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ELEVATOR SHAFT LOSS EVENT
     DELAY ANALYSIS
         REPORT
                OCTOBER 2020




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REPORT DESCRIPTION
CASE / PROJECT        SM 10000 Property, LLC and Swinerton Builders v. Allianz
                      Global Risks US
OUR CLIENT            Allen Matkins

REPORT TITLE          Elevator Shaft Loss Event Delay Analysis Report
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REPORT REFERENCE NR   XP/SM/001
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DISCLAIMER            The opinions in the report are based on our review and analysis
                      to date. We reserve the right to update these opinions upon
                      receipt of new information, or in rebuttal to future expert
                      testimony.
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1.    INTRODUCTION

Xpera Group has been retained by the Allen Matkins law firm on behalf of Swinerton
Builders and SM 10000 Property, LLC, to evaluate the impact of physical damage caused
by a concrete form failure on the completion of the project and delivery of all 283
residential units for occupancy by tenants at 10000 Santa Monica Place, Los Angeles,
CA. The observations and conclusions contained within the following report are those of
Ted Bumgardner, a licensed General Contractor in the State of California and the owner,
CEO, and RMO of Xpera Group, a California Corporation specializing in providing
consulting services to the building industry. Xpera’s services include construction
management, market research, quality assurance, cost estimating, building envelope
consulting, forensic expert witness services and technical consulting on a wide variety of
construction specialties. This report was prepared with the assistance of Hendrik Prinsloo,
PhD and Brian Hill of Xpera.

Over the past 40 years Mr. Bumgardner has actively managed and provided consulting
services in regard to hundreds of projects involving schedule delays and associated
damages. He is familiar with the standards governing construction scheduling, and
contractual requirements relating to construction delay claims.

Mr. Bumgardner’s Curriculum Vitae (CV), rate sheet and case list(cases in which he has
provided expert testimony under oath within the past four years) is included in Exhibit A
of this report along with the CV’s for Dr. Hendrik Prinsloo and Mr. Brian Hill. Attached as
Exhibit B is a list of the publications that Mr. Bumgardner has authored over the last four
years or more.


2. STATUS OF INVESTIGATION
Over the course of our investigation Xpera reviewed numerous project job files from the
SM 10000 Property, LLC, Swinerton Builders, and critical subcontractors and attended live
and virtual meetings with SM 10000 Property, LLC, Swinerton, Schindler Elevator, and
Conco Concrete. Xpera reviewed and performed analysis of Swinerton’s progress
schedules, and reviewed the reports and document files prepared by J.S. Held & Co., a
consultant to Allianz Global Risks US Insurance Company (Allianz). A complete index of
documents reviewed by Xpera is included in Exhibit C.
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3. PROJECT BACKGROUND
On November 14, 2013, SM 10000 Property LLC (Owner), contracted with Swinerton
Builders (Contractor) to construct the high-rise luxury rental property known as TEN
THOUSAND, located at 10000 Santa Monica Place, Los Angeles, CA 90067. The contract
required that substantial completion be achieved by no later than May 10, 2016.

The project includes a 40-story structure with 283 apartment units, extensive amenities,
and two stories of underground parking. The tower is constructed of reinforced concrete,
with a curtain wall glazing system.

To provide expedient vertical transportation for the building’s occupants, the design
called for a Schindler 7000 series elevator system capable of traveling in excess of over
1,500 feet per minute. The elevator system consisted of four passenger cars located in
one bank of elevator shafts, and a separate freight elevator located in separate shaft.

Allianz provided a Contractors Installation/Builders Risk Insurance and Delayed Opening
Insurance policy to the Owner that provided coverage to the Owner and Swinerton for
a period that began on October 1, 2013 and was ultimately extended through
December 31, 2016 (the “Builder’s Risk policy”).
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4. EXECUTIVE SUMMARY
The project commencement date was April 2, 2014. Approximately halfway through the
project, on December 2, 2015, the concrete subcontractor Conco was placing concrete
elevator shaft walls at the 36th level. Toward the end of the work day a wall form failure
allowed concrete to escape from the form into the elevator shaft. The form failure
resulted in at least two tons of fluid concrete cascading down the elevator shaft though
a temporary “crash deck” that had been constructed to protect workers and
equipment, and down the shaft to the basement destroying the elevator installation that
had already progressed to the 15th floor. Remedial action included the removal of
damaged equipment and debris, the implementation of safety measures to secure the
area, an assessment of the damage to identify equipment/material to be replaced and
or repaired, ordering replacement equipment and undertaking a lengthy repair process.
Following the loss event, insurance claims were submitted to Allianz by Swinerton and the
Owner seeking reimbursement of expenses and payment of losses resulting from the loss
event as allowed by the policy.

The purpose of this report is to provide an analysis and opinion of the time impact of the
loss event on the completion of the project. The approach to the analysis included the
following steps: (1) Assessing applicable contractual documentation and determination
of policy provisions relevant to the analysis; (2) analyzing the delay to determine the
impact on start-up of the project, and (3) developing final conclusions.

The assessment of the contractual documentation revealed that the policy document is
the primary agreement that will inform the analysis. It was further determined that the
concrete loss event meets the requirement for coverage set forth in the policy
agreement. Therefore, the insured would be entitled to recover damages for a delay
caused by a loss event to the extent the loss event delayed the start-up of the project.

No specific method of delay analysis is prescribed by the policy agreement for
determining the length of a delay caused by a covered direct physical loss or damage
and the policy language provides no specific guidance on how concurrent insured and
uninsured delays should be analyzed. In absence of any prescriptive requirements in the
policy language, industry accepted methods were utilized in the delay analysis.




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An analysis of available writings on the subject revealed that very limited industry
guidance specifically relating to delayed start up (DSU) insurance claims exists. The
limited literature available provides some guidance on how the common construction
industry delay analysis methods are applied to DSU claim analysis and how concurrent
delays should be dealt with. We concluded that established and well-known
construction delay analysis methods recognized by professional organizations are well
suited to the task of analyzing construction delay in the context of builder’s risk insurance
claims and can be utilized for calculating the impact of delay in DSU claims. These
methods should be used for that purpose to minimize the influence of subjective
judgment and the risk of conflict and controversy. After consideration of the availability
of contemporaneous schedule updates and considering the advantages and
disadvantages of various established delay analysis methods it was determined that the
combined application of the following methods would provide the most accurate view
of the impact of the delay on completion of the project:

   •   Time Impact Analysis,
   •   As-planned vs As-Built Analysis, and,
   •   Window Analysis.

The Time Impact Analysis showed that the loss event would have delayed final
completion of Floors 1 to 15 (TCO #2) by 129 days and Floors 16 to 31 (TCO #3) by 128
days and Floors 33 to 40 (TCO #4) by 128 days.

The As-planned vs As-built analysis concluded that the late completion of the permanent
elevator installation compromised vertical transportation and delayed the completion of
the units. The first 96 units (TCO#2) were delayed by 213 days, the next 128 units (TCO#3)
were delayed for 225 days and the final 59 units (TCO#4) were delayed for 182 days.

The Window Analysis revealed that significant delay to the elevator installation resulted
in delay to the manlift removal, which in turn delayed the completion of the “zipper units”
which provided weather enclosure on 32 floors.

From the Window Analysis, other potentially concurrent delays were identified and
analyzed to determine the controlling delay. It was concluded that the loss event was
the controlling delay and primary cause of the overall project delay. The Window Analysis
was not utilized to determine the number of days project completion was delayed.
                                                                           Page 11 of 77




In conclusion, all 3 industry recognized delay analysis methods utilized in the analysis
showed that the loss event had a significant impact on the completion of the project
and delayed occupancy of the units. The analysis methods applied were utilized to
calculate the period of delay of the loss event. The calculations show that TCO#1 was
delayed by 140 days, TCO#2 by 213 days, and TCO#4 by 182 days. Although there were
other delays encountered after the loss event, none of those delays were found to have
been the controlling cause of the overall delay.
                                                                             Page 12 of 77




5. LOSS EVENT
The incident occurred while casting the concrete sheer walls for the elevator shaft on the
36th floor on December 2, 2015. At least 2 tons of fluid concrete escaped through
formwork that was utilized to cast the shear walls of the concrete elevator shaft. The
failure went unnoticed and the leaked concrete gathered on a temporary crash deck
that had been installed to protect workers and equipment in the elevator shaft.




                            Figure 1 - Concrete Loss Incident

After some time, the weight of the concrete exceeded the carrying capacity of the crash
deck. The crash deck collapsed resulting in the concrete plummeting to the basement


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destroying the elevator installation that had already progressed to the 15th floor and
damaging the elevator installation equipment. The following photographs shows some
of the resulting damage:




               Figure 2 - Damaged support beam & Destroyed false car




     Figure 3 - Basement: Debris from False Car, Crash Deck & Hoisting Equipment
                                                                              Page 14 of 77




   Figure 4 - Basement: Suspended debris from ground floor & Damaged Equipment

It was fortunate that the loss event took place after hours when the elevator installation
crew were not present in the elevator shaft. The “near-miss” incident led to serious safety
concerns and caused repercussions in the elevator industry nationally. According to the
Center for Construction Research and Training (CPWR) the rate of elevator related
construction deaths, doubled from 2003 to 2016, with a peak of 37 in 2015.1 There was a
concerted effort underway by elevator unions to try and curb elevator related accidents.
This incident, along with the increasing frequency of construction related fatalities
associated with elevator work, lead to nationwide changes to improve worker safety.




                 Figure 5 - Elevator related construction deaths (CPWR)1

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The elevator sub-contractor, Schindler Elevator Co., was not able to re-commence work
in the elevator shaft until the safety concerns were resolved to the satisfaction of its
national safety officer and the International Union of Elevator Constructors (IUEC) to
which its workers belong. The loss event required extensive remedial action as well as the
implementation of worker safety provisions and included the following activities:

    •   Damaged equipment and debris had to be removed from the bottom of the
        shaft, and at various locations within the elevator shaft and adjacent areas.

    •   Safety measures had to be implemented to provide for worker safety in the shafts
        and adjacent areas. Existing safety barriers had to be redesigned and replaced
        or repaired and safety netting on various floors had to be replaced.

    •   The damage had to be carefully assessed to identify which equipment/material
        to be replaced and which equipment/material could be repaired.

    •   New equipment and material had to be ordered.

    •   Repairs had to be executed and replacement equipment and material had to
        be installed.
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6. ANALYSIS METHODOLOGY

6.1       OBJECTIVE
The main objective of the analysis is to determine the effect of the loss event on the
planned start of commercial operations and the substantial completion of construction.
Delay analysis considers the impact of a delay from a cause and effect perspective. In
this case, the concrete loss event (cause) impacted the elevator installation and
downstream activities (effect). The analysis will determine whether and to what extent
the loss event delayed elevator and related activities and effected the planned
occupancy of the project:




                                                                  CAUSE
                                 Delay Event:
                                 Concrete loss event
                     DELAY




                                Critical activities
                                Delayed:
                                                    Completion            EFFECT
                                Elevator
                                Activities          Delayed?


                             Figure 6 - Loss event: Cause and Effect

6.2       CONTEXT
When determining the methodology for analysis it is important to consider the context of
the claim. This particular claim is for the delayed start of commercial operations in terms
of an insurance policy. Given the context the following should be determined:

      •   Can the recognized construction industry delay analysis methods be utilized for
          the analysis?

      •   Would construction industry standard practice relating to concurrent delays and
          float ownership apply? “Float” is the time an activity can be delayed before it’s
          delay affects the next subsequent activity and the project completion.



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6.3    CONSTRUCTION INDUSTRY DELAY ANALYSIS
Delay analysis methods utilized in the construction industry are formalized in best practice
guides such as the American Association of Cost Engineers (AACE) Forensic Schedule
Analysis Practice Note and the Delay and Disruption Protocol by the UK based Society of
Construction Law. All of the industry recognized delay analysis methods involve various
techniques in the review of project schedules to determine the effect of a delay on
project completion.

Project plans (rereferred to as project schedules) are developed using the critical path
method (CPM). The critical path method was developed in the 1950s and is now
commonly used with all forms of projects. The benefits of the CPM are:

   •   It provides a concise project plan in the form of a schedule that depicts the
       activities required to complete a project graphically.
   •   It shows timeframes for each activity.
   •   It shows dependencies between activities.
   •   It highlights the most critical activities by showing the critical path. Any delay to
       activities on the critical path will delay the project completion.
   •   It allows for tracking and reporting project progress in terms of the planned date
       for project completion

There are 5 core methods commonly utilized to analyze CPM schedules and assess the
impact of delays on project completion:

   •   As-planned vs As-built
   •   Impacted As-planned
   •   Collapsed As-built
   •   Window Analysis
   •   Time Impact Analysis

Practice notes published by construction industry organizations like the AACE and others
provide guidance on how to execute these methods.
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6.4       DELAY START UP (DSU) INSURANCE CLAIMS
Very limited industry guidance specifically relating to delay start up (DSU) insurance
claims is in existence. Two organizations provide some degree of guidance:

      •   IMIA, a network of experts in Engineering Insurance from around the world that
          acts as a discussion forum and produces papers on topics of Engineering
          Insurance. 2

      •   LEG, a consultative body for insurers of engineering class risks produces various
          industry recognized papers, coverage clauses and guidance notes. Membership
          is drawn from the various insurance and re-insurance companies who are actively
          involved in underwriting risks within the engineering classes. 3

IMIA and LEG collectively produced a practice note on Delay in Start Up Insurance. The
2-page practice note generally deals with insurance related matters like coverage,
indemnity and deductibles. 4

6.4.1 DELAY ANALYSIS METHODS DSU CLAIMS
The practice note does not discuss methods to be utilized to determine the delay to
commercial operations in DSU claims. Literature on methods to calculate the impact of
a delay in the context of DSU claims is extremely limited. An article appearing on the
Lexology website (the most comprehensive source of international legal updates,
analysis and insights), titled: Delay in Start Up insurance and Delay Analysis Techniques,
reviews the common construction delay analysis methods when applied in DSU claims.
The article utilizes standard DSU policy wording to review the common construction delay
analysis methods to determine the most suitable delay analysis method.5

The objective of the delay analyses supporting delay claims made in terms of a
construction agreement between the owner and contractor is to calculate the number
of days an event delayed project completion. Similarly, the objective of the analysis of a
DSU claim is to determine the number of days a loss event delayed the planned start of
commercial operations. In most projects the project completion date is when
commercial operations commence, or could commence. It is clear that the delay
analysis methods utilized in construction contract claims can be utilized for DSU claims
because the objectives are in essence the same.



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When a delay is analyzed in projects where a CPM schedule is utilized to plan and
execute construction, accurate results can only be obtained if CPM delay analysis
methods are utilized. To achieve verifiable and reliable results in the context of a complex
construction schedule, industry recognized delay analysis methods are the only methods
that can or should be used to determine the number of days planned occupancy was
delayed by a loss event in DSU claims.

6.4.2 CONCURRENT DELAYS DSU CLAIMS
Concurrent delays during a construction project occur when a contractor delay
happens at the same time or overlaps with an owner delay. In the context of DSU claims,
concurrent delays will have to be addressed when an insured delay takes place at the
same time as, or overlaps with, an uninsured delay.

The DSU practice note does not address concurrent insured and uninsured delays.
Literature on concurrent delays relating to DSU claims is exceptionally limited. To address
this knowledge gap, the world’s second largest reinsurer, Swiss Reinsurance Company
Ltd., commonly known as Swiss Re, produced a brochure to assist underwriters and the
parties involved in large construction projects to provide some fundamentals for start-up
insurance.6 The diagram below summarizes the approach to concurrent delay in the
brochure.
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                                      Scheduled        Actual
                                       Business       Business
                                    Commencement   Commencement
  Scenario 1
                                                          • Insured delay and uninsured delay
               Insured Delay                                start and end at the same time
                                                          • From a DSU perspective the insured
               Uninsured Delay                              delay is not indemnified
  Scenario 2                                              • The time period of the insured delay
                      Not                                   is indemnified
        Insured Delay covered                             • From a DSU insurance perspective
               Uninsured Delay                              there is no coverage for a concurrent
                                                            delay that continues beyond the
                                                            insured delay
  Scenario 3                                             • The time period of the insured delay
                                 Not                       is indemnified
                 Insured Delay   covered
                                                         • From a DSU insurance perspective
                        Uninsured Delay                    there is no coverage for a concurrent
                                                           delay that continue beyond the
                                                           insured delay


                                  Figure 7 - DSU Concurrent delays6

The approach to address concurrent delays contained in the brochure is consistent with
the approach described in construction industry guidance documents. In claims made
in terms of construction agreements the contractor is only entitled to be compensated
for delays that are categorized as an owner’s risk. Similarly, DSU insurance agreements
only indemnify for insured delays (delays related to the loss event). This guidance
indicates that construction industry best practices in dealing with concurrent delays are
also applicable in DSU claims.
                                                                                              Page 21 of 77




6.5   APPROACH
To provide structure to the analysis the step-by-step approach explained below was
followed to reach final conclusions.


                 APPROACH
  STEP 1      Review contractual                   • Review contractual documents
                 documents
                                                   • Identify relevant provisions that will influence the
                                                     analysis
                 Opine on how
             contractual documents                 • Formulate opinion on how contractual documents
                informs analysis                     informs the analysis

  STEP 2     Determine whether the                 • Determine the most suitable delay analysis
            loss delayed the start up                methods to accurately reflect the effect of the delay
                                                   • Apply the chosen delay analysis methods
                    Opine on                       • Opine on whether the delay event impacted the the
                    criticality                      planned start up date of commercial operations and
                                                     to what extent
  STEP 3     Consider findings of
                 Step 1 - 3                       • Distill findings into final conclusions
                                                  • Draft and review report
                    Final                         • Submit report
                 conclusions


                                      Figure 8 - Analysis Approach




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7. REVIEW OF CONTRACTUAL INFORMATION (STEP 1)
The methodology followed for step 1, the review of the contractual information, is described
in Figure 9.

                         STEP 1 - CONTRACTUAL REVIEW

                                     Identify relevant
                                       contractual
                                       documents


                                 Review contractual
                                    documents


                                    Identify relevant
                                   provisions that will
                                   influence analysis


                                  Review relevant
                                    provisions


                                    Opine on impact
                                    on analysis and
                                      delay event




                 Figure 9 - Step 1: Review of Contractual Documentation




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7.1        RELEVANT CONTRACTUAL DOCUMENTS
The following contractual documents were considered to determine how and to what
extent they influence the analysis:

      •    Allianz Insurance Policy No. ATO 3014509 (AGRUS00006301)
      •    Construction Agreement (SB30008891) and AIA General Conditions (SB30008932)

 Contractual documentation                    Comments


 1.       Allianz   Policy   (parties:   SM   •   The insurance policy is the first agreement that will
          10000 Property, LLC & Allianz           inform the delay analysis because the claim is an
          Global    Risks    US   Insurance       insurance claim under the policy.
          Company) (SM0056512)
                                              •   The Delayed Opening Insurance extension part of
 2.       Agreement Between Owner                 the Insurance Policy is the relevant coverage as it
          and Contractor for                      relates to incidents delaying the start of commercial
          Construction where the basis            operations.
          for payment is the COST OF
                                              •   The insurance policy was issued in reference to work
          THE WORK PLUS A FEE with a
                                                  performed under the terms of the construction
          negotiated Guaranteed
                                                  contract. Therefore, the construction agreement is
          Maximum Price (parties: SM
                                                  relevant to the purpose of the insurance and the
          10000 Property, LLC &
                                                  interest insured by the insurance policy.
          Swinerton) (Owner
          Contractor Agreement)

 3.       AIA A201 2007 General
          Conditions (parties: SM 10000
          Property, LLC & Swinerton)
          (AIA A201)




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7.2   REVIEW OF THE RELEVANT CONTRACTUAL PROVISIONS
The following provisions of the Allianz insurance policy and the Delayed Opening
Insurance Extension (SM0056512) are relevant:

 Provision




 1. The insurance policy indemnifies for:
             a) Delayed-Start-Up Expenses during the Period of Delay to enable the insured
                to commence commercial operations in the manner originally planned.
             b) Loss of Rental Income which, but for the delay, would have been derived from
                the Insured Project during the Period of Delay




 2. The Period of Delay is defined as the period of time between:

                   a) The Scheduled Date of Completion and
                   b) The Actual Date when commercial operations and/or tenant
                       occupancy commenced or could have commenced




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 3. The Scheduled Date of Completion is in turn defined as the later of:

                  a) The Date in the Schedule; or
                  b) The Date when tenant occupancy would have commenced but for the
                      insured loss

     The word “Schedule” in this provision refers to the Policy Schedule. January 1, 2016 is
     reflected in the Policy Schedule as the Scheduled Date of completion. The
     commencement of commercial operations or the tenant occupancy date would be
     used as the Scheduled Date of Completion if it occurs later than the Date in the
     Schedule

                  Date when tenant         Period of           Actual date of
                  occupancy would
                                                             occupancy (or date
                  have commenced            Delay           when it was possible)
                   but for the loss


The following provisions of the construction agreements between the Owner and
Swinerton for construction are relevant:

 Provision and Interpretation
                                                                                           Page 26 of 77




1. The Owner Contractor Agreement provides for early occupation of portions of the work.
   Early occupation is formalized by introducing a milestone project completion process.
   The milestone completion will allow a phased occupation of the building. The
   contractual completion dates for each milestone at the time of the loss event is reflected
   below:


   Unit Completion Milestones
   (Construction contract & schedules)


   Milestone 1 (Feb 12, 2016)*             1
                                               Feb 12, 2016
   Lease office, Mock-up Unit)
                                                                             Aug 8, 2016
   Milestone 2 (Aug 8, 2016)*
   Floor 1-15; 96 Units                                                       96
                                                                                      Sep 7, 2016
   Milestone 3 (Sep 7, 2016)*
   Floor 16-31; 128 Units                                                             128
                                                                                              Oct 27, 2016
   Milestone 4 (Oct 27, 2016)*
   Floor 32-40; 59 Units)                                                                      59


                                 Figure 10 - Milestone Completion Dates (Pre-loss)
                                                                                  Page 27 of 77




2. The definition of substantial completion further enforces the approach to complete the project in
   portions to make some units available while construction is still underway. Seven requirements must
   be met to reach substantial completion. Three are particularly significant:

    •   a temporary certificate of occupancy issued by the applicable governing agency

    •   the requirement that the units need to be in move-in condition

    •   and all building systems should be operational.




3. According to provision 9.8.4 of the AIA A201 2007, when the 7 requirements referred to in the
   definition of Substantial Completion are met, the Architect will issue a Certificate of Substantial
   Completion. The Substantial Completion Certificate shall establish the date of Substantial
   Completion.
                                                                            Page 28 of 77




7.3    INFLUENCE OF THE CONTRACTUAL DOCUMENTS ON THE ANALYSIS
The analysis will be influenced by the contractual documentation in terms of the
following:

OBJECTIVE OF THE ANALYSIS
According to the policy, the insured is indemnified for:

      •   Delayed-Start-Up Expenses during the Period of Delay to enable the insured to
          commence commercial operations in the manner originally planned.
      •   Loss of Rental Income which, but for the delay, would have been derived from
          the Insured Project during the Period of Delay

The Period of Delay is defined as the period of time between the Scheduled Date of
Completion and the Actual Date when tenant occupancy commenced or could have
commenced.

The objective of the analysis is to determine Period of Delay, the number of days the
planned occupancy of the units was delayed due to the loss event.

METHOD OF THE ANALYSIS
•   No specific method of analysis is prescribed by the policy agreement. An industry
    recognized analysis method that will be able to achieve the objective of the analysis
    should be utilized.

•   No guidance is provided in the policy documents on how concurrent insured and
    uninsured delays should be dealt with. Industry accepted methods dealing with
    concurrent delays should be utilized.
                                                                              Page 29 of 77




8. IS THE DELAY CRITICAL? (STEP 2)

                         STEP 2 – Is the delay Critical?
                             Determine whether the delay is
                                        critical

                             Does the contract prescribe a delay
                                     analysis method?
                                           NO   YES


                                               Is the required
                                           information available
                                                 to utilise the
                                            prescribed method?
                                                      NO   YES


                                  Determine the most suitable
                                    delay analysis methods to
                                  accurately reflect the effect of
                                            the delay



                        Analysis – Determine impact on completion



                Figure 11 - Step 2: Determine the impact on completion

Step 2 of the analysis sets out to determine whether the delay is critical. Critical delays
are delays that impact the critical path of a project. When the critical path is impacted
the completion date of the project will be delayed.

Some contractual agreements would prescribe the use of one of the industry recognized
delay analysis methods. When deciding on a delay analysis method the contract
document should be reviewed to determine whether a specific method is prescribed.
The contractual document review done as part of step 2 revealed that the policy




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document does not prescribe an analysis method to be utilized to determine the extent
of the delay to the occupancy date.

8.1     MOST SUITABLE DELAY ANALYSIS METHOD
In absence of any prescribed delay analysis method in the policy the five common delay
analysis methods were assessed to determine which method or methods will be the most
suitable in context of the claim. The policy language was considered to help identify the
most appropriate method.

The review of the contractual documentation during step 2 concluded that the delay
analysis method utilized should be able to determine the Period of Delay.

The Period of Delay, as defined in the policy, can be summarized as follows:


           Date when tenant               Period of            Actual date of occupancy
         occupancy would have                                    (or date when it was
       commenced but for the loss           Delay                      possible)


                                 Figure 12 - Period of Delay

To determine the Period of Delay the following will have to be determined:

   •    The date when tenant occupancy would have commenced if the loss did not
        occur.
   •    Actual date of occupancy or date when tenant occupancy was possible.

The policy objectives were utilized to evaluate common delay analysis methods with the
objective to determine which method or methods will be the most suitable to accurate
establish the Period of Delay.

8.1.1 AS-PLANNED VS AS-BUILT

                                        Description:
 A comparison of critical path activities on the as-planned (baseline) schedule with the
 same activities on the as-built schedule to establish the net impact on the completion
                                           date.

                         Requirements to utilize this method:
                                                                               Page 31 of 77




• Baseline Schedule
• As-built Schedule
                              Advantage and Disadvantage:
Advantage:
• This method reduces uncertainty and subjectivity because actual activity durations
   are utilized in the analysis.
Disadvantage:
• It will be difficult to determine the date when occupancy would have occurred but
   for the loss because the collective impact of all delays and the effect of acceleration
   are reflected in the as-built schedule.
                                  Review of Suitability:

As-Planned vs As-Built method would be useful to compare durations of pre-loss and post
loss activities. However, it would be difficult to isolate the impact of the loss event delay
using this method on its own because the impact of other delays and acceleration have
affected the as-built schedule.


8.1.2 IMPACTED AS-PLANNED

                                       Description:
 Determine the effect on the project completion date by incorporating the delay into
                      the initial as-planned (baseline) schedule.
                         Requirements to utilize this method:
• Baseline Schedule with critical path
• Delay event information
                             Advantage and Disadvantages:
Advantage:
• This method is able to determine the impact of a delay on completion without being
   influenced by post delay sequence changes and acceleration.
Disadvantages:
• This method is a prospective method that forecasts what the impact would have been
   if activities were not re-sequenced or accelerated. The method is limited in that it does
   not consider acceleration and other delays that might have occurred after the delay.
• This method only relies on the as-planned schedule, any deficiencies in this schedule
   will influence the accuracy of the analysis.
                                                                               Page 32 of 77




• Delays that occurred prior to the loss event are not taken into account because the
  baseline schedule is utilized.
                                   Review of Suitability:
Some delays occurred prior to the loss event. If the Impacted As-Planned method is to
be utilized, the impact of the pre-loss delays would in addition to the loss event contribute
to the overall delay to the completion date. This would make it difficult to isolate the
impact of the loss event on completion as required by the policy.


8.1.3 WINDOW ANALYSIS

                                       Description:
 Determine the effect on a project completion date by analysing the delays within a
                             specific windows of time.
                         Requirements to utilize this method:
• Baseline Schedule with critical path
• Delay event information
• Regular schedule updates
• As-built schedule
                             Advantage and Disadvantages:
Advantage:
• This method can provide information on how delays impacted progress throughout
   the project and can reflect changes in the critical path.
Disadvantages:
• Regular schedule updates are required to fully apply this method. The accuracy to
   determine the overall impact on completion will be negatively influenced if regular
   schedule updates are not available.
• The results of the methods only indicate the delays within the time window in question.
                                   Review of Suitability:
The application of the Window Analysis will be limited by the number of schedule
updates that are available after the loss event. However, this method would be useful to
pinpoint delays that were experienced for the windows of time for which schedules are
available.
                                                                              Page 33 of 77




8.1.4 TIME IMPACT ANALYSIS

                                      Description:
Determine the effect on the project completion date by incorporating the delay into a
                            contemporaneous schedule.
                        Requirements to utilize this method:
• Baseline Schedule with critical path
• Contemporaneously updated Baseline Schedule
• Delay event information
                             Advantage and Disadvantages:
Advantage:
• This method is able to determine the impact of a delay on completion without being
   influenced by post delay sequence changes and acceleration.
Disadvantage:
• This method is a prospective method that forecasts what the impact would have been
   if activities were not re-sequenced or accelerated. The method is limited in that it does
   not consider acceleration and other delays that might have occurred after the delay
   period under consideration.
• This method only relies on the updated baseline schedule; any deficiencies in this
   schedule will influence the accuracy of the analysis.
                                 Review of Suitability:

The Time Impact Analysis makes use of a schedule that is contemporaneous at the time
of the delay (loss event). The impact of the pre-loss event delays would be reflected in
the contemporaneous schedule and would not influence the analysis of the loss event.
An added benefit of the Time Impact Analysis is that it is not influenced by the re-
sequencing of activities and the impact of acceleration on completion. Significant
resequencing of activities occurred after the loss event to reduce the impact on
completion. This method would be able to provide accurate results in this type of
scenario but would not reflect downstream resequencing and acceleration.




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8.1.5 COLLAPSED AS-BUILT

                                      Description:
Determine the effect on the project completion date by eliminating delays from the as-
                                    built schedule.
                         Requirements to utilize this method:
• As-built schedule with critical path
• Delay event information
                             Advantage and Disadvantages:
Advantage:
• This method is executed retrospectively and has the benefit of hindsight when
   assessing the impact of the delay. In some scenarios, this might translate into more
   accurate results.
Disadvantages:
• Errors in the as-built schedule would influence the accuracy of results obtained when
   applying this method.
• An as-built schedule with accurate logic and critical path is required to apply this
   method. This type of schedule is seldom available since it is a common practice for
   contractors to update with actual start and finish dates independent of and without
   making logic corrections as the project progresses.
• It will be difficult to get an accurate view of what the completion date would have
   been but for the delay by using a schedule that includes logic and decisions made
   based on the response to the loss event.
                                   Review of Suitability:
This analysis method is highly dependent on an as-built schedule with accurate logic.
Most as-built schedules do not include accurate schedule logic because the activity
update process would normally eliminate the schedule logic. Unfortunately, after
assessing the as-built schedule for the project it appears that the schedule logic was
impacted by the update of the activities with actual information, as is typical. It will not
be possible to make use of this method unless the entire as-built schedule is
reconstructed. With more than 7000 activities in the schedule reconstruction of the as-
built schedule logic will be not only extremely time consuming but will add elements of
subjectivity that all accepted methods are intended to minimize.




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8.1.6 IMPACT OF SCHEDULE AVAILABILITY ON THE ANALYSIS METHOD
To be able to make an informed choice on which delay analysis method to use the
number, type and quality of schedules available should be considered.

The loss event influenced the project planning and scheduling approach followed. The
original project baseline schedule utilized was replaced with a recovery (mitigation)
schedule after the loss event. After the occurrence of the loss, efforts were made to
minimize the impact of the loss on project completion by the re-sequencing and
acceleration of activities. The re-sequencing was captured in the recovery schedule that
was produced on February 16, 2016. No project schedule updates were done in the final
months of the project. During this period, it appears that an Excel Spreadsheet replaced
the Primavera P6 project schedules as main planning tool for the project. This
spreadsheet, titled: 10 000 Move In Matrix provided completion dates for all units. It
appears, that the completion dates of the units were prioritized in terms of leasing of units
by tenats.




                                Loss
                               Event




         Baseline Schedule                 Recovery Schedule          Move-in Matrix
                                          Activities re-sequenced    Unit uptake driven

             Figure 13 – Project Planning & Scheduling in response to Loss Event

The post loss duration was 19 months starting on December 3, 2015 and ending on July
1, 2017. The first occupancy was January 1, 2017. During the period between December
2015 and January 2017, 8 schedules were produced:

   •   3 Schedules reporting on the Pre-loss Baseline Schedule
   •   1 Recovery Schedule
                                                                            Page 36 of 77




   •   2 Schedules reporting on the Recovery Schedule
   •   2 As-built schedules

No P6 schedule updates were produced after June 2016.

                              Table 1 - Post Lost Schedules
        #   Date              Schedule   Type
                              Name
        1   Nov 30, 2015      S51K       Pre-loss; Update of baseline

        2   Jan 4, 2016       S53K       Update of baseline

        3   Feb 16, 2016      S54K       Recovery Schedule

        4   Mar 2, 2016       S56K       Update of baseline

        5   Apr 11, 2016      S58K       Update on Recovery Schedule
            May 31, 2016/
        6                     As-built   As-built
            Jul 5, 2016
        7   Jun 3, 2016       S60L       Update on Recovery Schedule

        8   May 31, 2017      As-built   As-built

After the occurrence of the loss event, 2 schedule updates (January 4, 2016 & March 2,
2016) still reported progress in terms of the pre-loss baseline schedule. During February
2016 a recovery schedule was produced. The recovery schedule was a new schedule
that incorporated the re-sequencing of activities and acceleration with the goal to
provide a plan to still achieve the intended pre-loss completion date. The April 11, 2016
schedule update and the June 3, 2016 schedule update reported progress on the
recovery schedule.

The re-sequencing added a layer of complication to the analysis due to the difficulty in
separating the impact of the loss event from the effect of acceleration when drawing
conclusions from the comparison of the planned completion dates of pre-loss activities
with the actual post loss completion dates.

8.1.7 DELAY ANALYSIS METHODS CHOSEN
After considering the availability of schedules and evaluating the advantages and
disadvantages of each of the standard analysis methods an informed choice of method
could be made.
                                                                                             Page 37 of 77




The loss event had several consequences (depicted in Figure 14) that make the analysis
very complex:

 •   The loss event introduced new repair and recovery activities into the schedule.
 •   A large number of activities in the schedule were impacted by the loss event
 •   To minimize the impact of the loss event, activities had been re-sequenced.
 •   A large number of activities were accelerated in an attempt mitigate the effect of
     the loss event on the planned pre-loss completion date.
 •   It is possible that independent delay (delays not directly related to the loss event)
     occurred.
 •   A new schedule with re-sequenced activities was introduced in response to the loss
     event.



 As-planned
                                                                      Effect on Completion
    As-built
                               Loss recovery
                                 activities
               Loss incident                                         Effect of loss event
                                               Impact on existing
                                                                    Effect of
                                                    activities
                                      Independent
                                                                    Independent delays
                                          delays

               Figure 14 - Loss event consequence considered in the analysis

Because of the complexity, more than one analysis method was utilized to produce the
most accurate and reliable results. The time impact analysis is helpful to determine the
impact of the loss event without being influenced by the re-sequencing of activities,
acceleration and the occurrence of independent delays. The main limitation of the time
impact analysis is that it does not take into account actual activity execution after the
loss event. This shortcoming can be addressed by performing an as-planned vs as-built
analysis. The as-planned vs as-built analysis is limited by the fact that the results would
provide the overall project delay without isolating the impact of independent delays and
acceleration. Those independent delays can be identified and address by applying the
Window Analysis. Therefore, combining these 3 delays analysis methods will produce the
most accurate results.
                                                                                                 Page 38 of 77




8.2      Analysis
8.2.1 PROJECT APPROACH

a) The Owner’s Requirements
The owner planned to make 283 apartments available to the high-end rental market.


                                                                                          Milestone 1
                                                                                 a) The Leasing Office
                                                                                 b) One Mock-up Unit on
                                                 40
                                                 39
                                                                                    the lower floor
                                                38
    Milestone 4                                                                          Milestone 2
                                                37
     59 Units                                   36                               a) Floors 1-15 (96 units),
                                                35
      Oct 27, 2016                              34
                                                                                    and all amenities and
                                                33                                  common areas.
                                                32
                                                31
                                                                                 b) A proportionate share of
                                                30                                  Parking spaces and
                                                29
                                                                                    support areas.
                                                28
                                                27                               c) Elevators
      Milestone 3                               26
      128 Units                                                                  d) Ancillary spaces
                                                25
                                                24                                  required by code (e.g.
      Sep 7, 2016                               23                                  boilers, generator, etc.)
                                                22
                                                21                                       Milestone 3
                                                20
                                                19                               a) Floors 16-31 (128 units).
                                                18
                                                17                               b) A proportionate share of
                                                16                                  parking spaces &
                                                15
                                                14
                                                                                    support areas.
                                                12                               c) Elevators
                                                11
                                                10                               d) Ancillary spaces
      Milestone 2                               9                                   required by code (e.g.
       96 Units                                 8
                                                                                    boilers, generator, etc.)
                                                7
      Aug 8, 2016                               6
                                                5
                                                4
                                                                                         Milestone 4
                                                3        Milestone 1             a) Floors 32-40 (59 units)
                                                2        1 Unit
                                                1        Feb 12, 2016               and the balance of the
                                                                                    Project.
*The dates reflect the TOC dates in the Pre-loss Schedule (S51K; Nov 30, 2015)

                                 Figure 15 - Project Completion Milestones

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To make units available for occupation as soon as possible the owner group’s intention
was to follow a phased construction process. This approach would enable lower floor
units to be made available for occupation while construction was still underway of the
units located on the floors above. The image above depicts the phased approached
formalized by means of the construction completion milestones stipulated in the Owner
Contractor Agreement.

b) Construction Approach

Numerous constraints are faced in the construction of high-rise buildings. Perhaps the
most significant is the limited working and storage space available on the job site. To
address this constraint a just-in-time production process is normally followed. This calls for
equipment and material to be delivered to site, just in time for the installation process.
Because limited storage is available on the job site it is important that the material is
immediately transported to the floor where it is needed.

Another constraint is access to the large number of floors that are not on ground level.
An effective vertical transportation system is required to facilitate material movement
and workers access the upper floors swiftly.

The project schedules and documentation reveal that the construction execution
approach was to commence with the tower concrete structure closely followed by the
elevator installation. The elevator installation was sequenced to allow elevator work to
commence in parallel but marginally lagging the concrete tower construction.

This approach would assist to complete the internal elevator system as quickly as possible
to be able to use it for vertical transportation during construction. To facilitate access to
the upper floors in the interim a temporary external hoist (referred to in the schedule as a
manlift) was fixed to the façade of the building to be utilized until the internal elevator
installation was functional.

The extract of the pre-loss schedule (S51K; Nov 30, 2015) shows that the intention was to
remove the temporary manlift on May 9, 2016 when Jump 3 of the elevator installation
was completed.
                                                                            Page 40 of 77




                   Figure 16 - Elevator temporary Manlift relationship

Once the manlift was removed, work to complete the closing in of the section of the
external glass façade where the manlift was situated could commence. This would fully
weatherproof the building allowing all internal finishes to be completed and the required
commissioning and performance testing of building systems to take place.

Although this approach would be beneficial to achieve the phased completion
requirement, the downside is that the completion of the apartments next to the manlift
(referred to as zipper units in the schedule) could only take place once the manlift was
removed.
                                                                                             Page 41 of 77




                                         Figure 17 – Manlift

Having the permanent elevator installation available early was a prerequisite to achieve
the staged completion requirement where floor 1 to 15 (96 units) would be completed
and made available first for occupancy. This would be followed by the completion and
handover for occupancy of floor 16 to 32 (128 units). The final stage of completion would
include floor 32 to 40 (59 units) and all areas that had not already been completed.

8.2.2 LOSS EVENT REPAIRS
Repair and recovery activities that were undertaken as a result of the loss event were
summarized in a schedule fragnet by Swinerton. A fragnet is a fragmentary schedule
network that is used to show the sequencing of new activities proposed to be added to
an existing schedule. To test the accuracy of the fragnet each activity was reviewed to
substantiate the dates provided.

                                Table 2 - Loss Event Repair Activities
ID     Description                   Dates Comments
A13310 Replace Safety Netting       12/08/15 Several references are made to this activity in the Schindler
                                    01/06/16 daily reports and Schindler email dated Feb 2, 2017.
X.1000 Concrete Blowout Incident    12/02/15 Loss event date is captured in the Schindler daily reports and
                                             several other documents.
                                                                                                 Page 42 of 77




X.1010 Cleanup Concrete and Crash 12/03/15 The Schindler daily reports and several other documents
       Deck Debris                12/07/15 makes reference to the cleaning activities.
X.1020 Suspend Elevator Work      12/03/15 Confirmed by the Schindler daily reports.

X.1030 Schindler Initial Damage        12/08/15 Schindler daily reports refers to the assessment of damage.
       Evaluation of Temp              12/11/15
       Equipment
X.1040 Crash Deck Design               12/14/15 The crash deck design is the topic of several emails between
                                       01/14/16 Swinerton and Schindler.
X.1050   Procure Damaged Elevator 12/14/15 Several Schindler daily report entries refer to equipment
         Equipment                     02/03/16 delivery.
X.1060   Procure Crash Deck Material 01/15/16 Confirmed by email correspondence between Swinerton to
                                       01/25/16 Schindler.
X.1070   Build Crash Decks to Start    01/25/16 Confirmed by email correspondence between Swinerton to
         Repair Work                   01/28/16 Schindler.
X.1080   Dismantle Core Forming        01/29/16 Captured in the CONCO daily reports
         System & Placing Boom         02/03/16
X.1090   Rebuild False Cars            02/04/16 Captured in Schindler daily reports (false cars referred to as
                                       02/12/16 skips)
X.1100   Schindler Cleanup             02/04/16 Reflected in Schindler daily reports
                                       02/17/16
X.1110   Schindler Inspect Shaft for   02/16/16 Schindler Head office damage report dated Feb 18, 2016
         Damage                        02/17/16
X.1120   Schindler Internal Engineer's 02/18/16 Schindler Head office damage report was issued on Feb 18,
         Evaluation/ Report                     2016
X.1130   Dried in Machine Room         04/08/16 Email for Peter Ruiz (Swinerton) sent on Friday, April 8, 2016
                                                to Ralph Testa Jr (Schindler) confirms completion of machine
                                                room
X.1140   Complete Hoistway Work        03/11/16 Not in Schindler diaries – search for any substantiating docs?
         from Level 17 Down            03/31/16
X.1150   Re-establish Target Lines     04/18/16 Reflected in Schindler daily reports
                                       04/28/16
X.1160   Replace Damaged Elevator 04/01/16 Schindler Change Order 7 makes reference to this work.
         Clips / Damaged Rails         04/08/16
X.1170   Complete Rails from Level     04/29/16 Confirmed by Schindler daily reports
         18 through 40                 06/01/16
X.1180   Complete Front from Level 06/02/16 Work on the elevator fronts level 18 through 40 took place
         18 through 40                 07/01/16 between April 8, 2016 and May 3, 2016
X.1190   Restart Elevator Work         07/05/16 This date reflects Swinerton’s interpretation of the date when
                                                normal elevator activities could commence.
X.1200   Schindler Internal Review of 02/19/16 Email correspondence captured the exchange between
         Damage Report/ Labor          03/10/16 Swinerton and Schindler on safety requirements.
         Union/ Safety
X.1210   Clean Rails                   02/26/16 Confirmed by Schindler daily reports
                                       03/10/16
X.1220   Build New Crash Decks for     04/11/16 Email correspondence from Swinerton to Schindler refers to
         Final Jump                    04/15/16 crash decks


The review and verification of the concrete blowout activities included in the fragnet
showed that minor amendments were required to utilize the fragnet for analysis purposes.
                                                                                                                    Page 43 of 77




Table 3 below provides a summary of the amendments and the reasons for the
amendments.

                                      Table 3 - Fragnet Activity Amendment
 #             Amendment                       Duration                 Predecessor                          Successor
     Remove activity:
1
     X1170 Complete Rails from Level
     18 through 40
     Reason for correction:
     The rail installation was impacted by the loss event but activities for the installation of the rails are part of the jump 2 and
     jump 3 elevator activities in the pre-loss schedule. It is therefore not necessary to include the rail activities in the fragnet.
     Correct activity start and finish:
2
     X. 1880 Complete Front from Level
     18 through 40
     Reason for correction:
     The time when this activity occurred was incorrectly captured in the fragnet. Work on the elevator fronts level 18 through
     40 took place between April 8, 2016 and May 3, 2016 not between June 2, 2016 and July 1, 2016.

     Update Predecessor for:                                    Add:
3
     X.1150 Re-establish Target Lines                           X.1220 Build new crash deck for
                                                                Final jump
                                                                Remove:
                                                                X. 1880 Complete Front from
                                                                Level 18 through 40
     Reason for correction:
     The target lines could only be re-established after a new crash deck was installed. The correct predecessor is therefore
     the crash deck (X. 1220) and not the completion of the fronts (X. 1880)
     Updated Successor for:
4
     X.1150 Re-establish Target Lines

                                                                                                    Add:
                                                                                                    EV-T-205 Install Main Rails to
                                                                                                    27
     Reason for correction:
     The correct successor for this activity is the installation of the main rails.
     Updated Successor:                                                                            Add:
5
     X.1190 Restart Elevator Work                                                                  X.1150 Re-establish Target
                                                                                                   Lines
                                                                                                  Remove:
                                                                                                  EV.T-205 Install main Rails to
                                                                                                  27
     Reason for correction:
     The elevator work re-started with the re-establishment of the target lines and not when with the installation of the main rails.
                                                                                                                  Page 44 of 77




8.2.3 SCHEDULE INTEGRITY
Prior to applying any of the delay analysis methods the schedules required for the analysis
were reviewed to ensure the accuracy of the schedule logic.

The final schedule update that was done prior to the loss event on December 2, 2015 is
the November 30, 2015 (S51K) schedule. A review of this schedule showed that three
activities require correction. Table 4 below provides a summary of the corrections and
the reasons for the corrections.

Table 4 - Pre-loss Schedule Corrections

 #              Correction                    Duration               Predecessor                           Successor
     Added new activity:                                      Add:                                Add:
 1
     EV-T-335 Install Main Rails to 40           7 WD         EV-T-205 Install Main Rails to      EV-T-340 Install Counterweight
                                                              27                                  Rails to 40
     Reason for correction:
     The pre-loss schedule did not include an activity for the installation of elevators main rails for jump 3 (floor 29 – 40)
     Duration calculation:
      • The same activity for 16 floors in jump 1 had a duration of 8 WD (0.5 WD / floor)
      • The same activity for 13 floors in jump 2 had a duration of 8 WD (0.62 WD / floor)
      • The average duration per floor of jump 1 & 2 is 0.56 WD. If this average is applied to the 12 floors of jump 3 the duration
         is 6.69 WD ≈ 7 WD
     Added new activity:                                      Add:                                  Add:
 2
     EV-T-340 Install Counterweight          7 WD             EV-T-335 Install Main Rails to EV-T-306 Install Main Rails to
     Rails to 40                                              40                                    41
     Reason for correction:
      The pre-loss schedule did not include an activity for the installation of counterweight rails for jump 3 (floor 29 – 40)
     Duration calculation:
      • The same activity for 16 floors in jump 1 had a duration of 8 WD (0.5 WD / floor)
      • The same activity for 13 floors in jump 2 had a duration of 8 WD (0.62 WD / floor)
      • The average duration per floor of jump 1 & 2 is 0.56 WD. If this average is applied to the 12 floors of jump 3 the duration
         is 6.69 WD ≈ 7 WD
     Updated Predecessor for:
 3
     EV-T-306 Install Main Rails to 41
     Reason for correction:
     • The original pre-loss schedule did not include an activity for the installation of counterweight rails for jump 3 (floor 29 –
       40)
                                                                             Page 45 of 77




8.2.4 PROJECT COMPLETION DATES
The Owner Contractor Agreement identifies seven requirements that must be met to
achieve substantial completion of each contract milestone (section 6.2):

   (1) A temporary certificate of occupancy issued by the applicable governing
      agency.
   (2) Units need to be in move-in condition.
   (3) All building systems should be operational.
   (4) All finishes to be completed.
   (5) All common areas and building-wide systems necessary for occupancy are in
      move-in condition.
   (6) Written declaration that all punch list items are complete or will be completed.
   (7) The work is sufficiently complete and certified by the architect that the owner can
      fully occupy and utilize it for its intended use.

In accordance with the AIA A201 A201 General Conditions document attached to the
Owner Contractor Agreement, the Architect will issue a Substantial Completion
Certificate when these requirements are met. No substantial completion certificates
were issued by the architect for any of the four project milestone completion dates. The
actual completion dates for each milestone can, however, be determined from
construction records.

The project schedules utilize the term “TCO” to signify the completion milestones
described in the Owner Contractor Agreement. TCO dates in the Swinerton baseline
schedule tie out to the contractual dates for substantial completion of the corresponding
milestone, as defined by section 6.2 of the Owner Contractor Agreement. The Swinerton
schedules show no activity occurring or continuing beyond the completion of TCO#4,
indicating that all contract Work was expected to be completed on that date. TCO is
an abbreviation of Temporary Certificate of Occupancy (TCO), which is one of the seven
requirements of project milestone completion. The TCO dates in the initial baseline
schedule reflected the project milestone dates. For instance, “TCO#2 – Life Safety Core
and Shell; Interior through 15 (Aug 1, 2015)” denotes the achievement of milestone #2 in
Swinerton’s schedule.




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                                                                               Page 46 of 77




A review of project documentation shows that construction work to complete the units
continued for a period of months after the TCO dates in the as-built schedule. It is clear
that the TCO dates reflected in the As-built Schedule are not an accurate reflection of,
and cannot be utilized as, project milestone completion dates.

The date when units were ready for occupancy is important for the analysis because the
Policy also considers this date in determining the Period of Delay. In absence of
substantial completion certificates other means were used in the analysis to determine
when the units were ready for occupancy.

During the final months of construction, an Excel Spreadsheet replaced the Primavera
P6 project schedules as main planning tool for the project. This spreadsheet, titled: 10 000
Move In Matrix provided completion dates for all units.          This project document in
conjunction with rent roll information can be utilized to pinpoint completion dates of all
the units for analysis purposes.

8.2.5 TIME IMPACT ANALYSIS
The Time Impact Analysis is especially suited for this type of claim as the analysis isolates
the impact of the loss event on the completion date. The following steps (based on the
recommended steps contained in the AACE 29R-03) were followed to execute this
method:

a) Schedule S51K dated Nov 30, 2015 was utilized as the basis of the analysis. This was
   the final schedule update completed before the loss event. This schedule included
   all extensions of time granted up to that date, and showed a project completion date
   of October 27, 2016.
b) A review of this schedule showed that a small number of activities required correction
   to improve the accuracy of the Pre-loss Schedule. Refer to section 8.3.3 for a summary
   of the corrections made.
c) The concrete blowout fragnet prepared by Swinerton was utilized as starting point to
   capture the delayed activities. The accuracy of the fragnet activities was reviewed.
   The review and verification of the concrete blowout activities included in the fragnet
   showed that minor amendments were required. The amendments are summarized in
   section 8.3.2 of the report.
                                                                              Page 47 of 77




d) By making use of the Primavera P6 scheduling software a new schedule was created
   by inserting the fragnet activities into the corrected Pre-loss Schedule (S51K; Nov 30,
   2015).
e) To verify that there is no added logic in the fragnet that creates a delay, the test
   recommended by the AACE practice note was executed. This test involved zeroing
   out the durations of all activities in the added fragnet and verifying there is no change
   to the completion date.
f) The impact of the loss related activities (concrete fragnet) on the project completion
   date was determined by comparing the project completion date of the impacted
   and un-impacted schedules.

ANALYSIS
The following excerpt from the Pre-loss Schedule (S51K; Nov 30, 2015) shows the milestone
completion dates as they appear in this schedule.




                     Figure 18 – Pre-loss Schedule Milestone Dates

The following corrected concrete fragnet was introduced into the Pre-loss Schedule to
determine the impact of the concrete loss event on the completion:
                                                                              Page 48 of 77




                         Figure 19 - Corrected Concrete Fragnet

The introduction of the concrete fragnet resulted in the following changes in the
milestone dates:




                       Figure 20 – Results of Time Impact Analysis

The inclusion of the concrete fragnet resulted in a delay to all milestone (TCO) completion
dates except for TCO #1. Figure 21 summarizes the impact on the project milestone
completion dates determined by the time impact analysis.
                                                                                                    Page 49 of 77




      Completion
      Milestones
                               Feb 12, 2016
  Milestone 1                  M1 0 days
  Lease office, Mock-up Unit
                                                       Aug 8, 2016                     Dec 15, 2016
  Milestone 2                                                         129 days
  Floor 1-15; 96 Units                                  96                                  96

  Milestone 3                                                  Sep 7, 2016                       Jan 13, 2017
  Floor 16-31; 128 Units                                        128              128 days           128

  Milestone 4                                                          Oct 27, 2016                         Mar 4, 2017
  Floor 32-40; 59 Units                                                 59                  128 days
                                                                                                                   59



                 Figure 21 - Loss Event Impact on Completion (Time Impact Analysis)

CONCLUSION
The following conclusions can be drawn from the results of the Time Impact Analysis:

   a) The time impact analysis shows a delay to all milestone (TCO) completion dates
          except for TCO #1.
   b) Floor 1 to 15 (TCO #2) would have suffered a delay of 129 days if the project was
          not re-sequenced and accelerated.
   c) The completion of TCO #3, floors 16 to 31 would have been delayed for 128 days
          without any intervention.
   d) The loss event would have delayed final completion of the project by 128 days.
   e) As a result of the loss event the first occupancy of the units would only have been
          possible after December 15, 2016 approximately 4 months and 9 days (129 days)
          after the intended date of August 8, 2016.

8.2.6 AS-PLANNED VS AS-BUILT
The As-planned vs As-built analysis method is especially helpful to determine the impact
a delay had on specific activities. The following steps were followed to apply this method:

   a) The pre-loss schedule was utilized as the as-planned schedule because it provided
          the most up to date plan to reach completion prior to the loss event. The Nov 30,
          2015 Schedule S51K was utilized because it was the final schedule update
                                                                               Page 50 of 77




       completed before the loss event of December 2, 2015. This schedule is an update
       of the original baseline accepted by both parties.
   b) The schedule updates discussed in the previous section were utilized to identify the
       activities that were delayed during the construction process.
   c) The initial construction approach and activity sequence were utilized to identify
       the main path of delay. The activities as part of this delay path were analyzed first.
       Activities that were independent of the main path were analyzed in the next
       section of the report.
   d) The analysis compared activity start dates, completion dates and durations in the
       as-planned (pre-loss schedule) and the as-built schedule.
   e) The May 31, 2017 Schedule was utilized as the as-built schedule for the analysis.
   f) To determine the relative delay to the activities analyzed the delay to the
       completion dates were considered. To ascertain the forecasted delay on
       completion, float was also considered where applicable.
   g) Concurrent delays were identified and considered independently (section 8.3.7).

ANALYSIS
A. ELEVATOR INSTALLATION DELAY
The loss event repair activities mainly impacted the elevator installation. As-planned v As-
built analysis was utilized to determine the impact on the elevator installation.




                     Figure 22 - Elevator installation: Pre-loss vs As-built

The pre-loss schedule (S51K; Nov 30, 2015) shows that the elevator installation was
expected to be completed on May 11, 2016 but was actually completed 146 working
                                                                                       Page 51 of 77




days later on Nov 29, 2016 (As-built Schedule; May 31, 2017). When the elevator
installation is considered in isolation, taking into account the 75 day float period, the
delayed elevator activities had a 71 working day (99 days) impact on the completion of
the project. This does not take into account the impact on the zipper unit and closing the
building, which further delay project completion.

                             Table 5 - Elevator installation delay
          Elevator Installation Pre-loss Completion (As-planned)
          Activity                   Start           Finish            Duration
          Elevator Installation      Jul 13, 2015    May 11, 2016      217 WD (a)
          Elevator Installation Actual Completion (As-built)
          Activity                 Start           Finish              Duration
          Elevator Installation      Jul 13, 2015    Nov 29, 2016      362 WD (b)
          Effect on Completion
          Elevator Installation delay               146 WD (b) – (a)
          Float                                     75 WD
          Impact on Completion                      71 WD

B. MANLIFT REMOVAL DELAY
One of the consequences of the delayed elevator installation was that the manlift had
to remain operational for 89 days after the intended date of removal.




                                                                                         Aug 6, 2016
                                                               May 9, 2016          89 days



                                  Figure 23 - Manlift removal delay

The late removal of the manlift was analyzed to assess the impact on vertical
transportation during construction. The analysis (summarized in table 6), calculates the
transport capacity for the two temporary hoist cabs to the first 2 permanent elevators
                                                                                                                  Page 52 of 77




that went into service replacing the temporary hoist, which consisted of one passenger
elevator and one freight elevator. The transport rate was calculated based on floor area
of elevator cars, volume of elevator cars and weight carrying capacity for the car speed
the to the mid-point of travel.

               Table 6 - Transport Rates: Temporary Manlift to Permanent Elevators
                                                                                                                    2 Permanent
                                                                                                                      Elavators
                                                                                             Total 2                Compaired to
                                           Temp       Total 2    Permanent Permanent Permanent                       Temporary
 Attribute                                 Hoist    Temp Cars   Passenger (A) Freight (E) Cars (A)&(E)   Delta         Service
 Inspection Date                                                  8/29/16       7/27/16
 Qty of Cars                                   2        2             1             1           2         0.00           0
 Cab Width                                   6.67                    6.82         11.08
 Cab Depth                                   4.67                    4.72          5.71
 Cab Height                                 12.33                   10.01          10.1
 Cab Area (SF)                              31.15     62.30         32.19         63.27       95.46       33.16        153%
 Cab Volume (CF)                           384.07    768.13        322.23        638.99      961.22      193.09        125%
 Capacity (LBS)                             3,114     6,228         3,000         4,500       7,500       1,272        120%
 Speed (FPM) average                         300       300           800           700         750         450         250%
 Mid point of travel (FT)                              240         240.00        240.00        240
 Transport Rate to Midpoint of Travel
 Based on Floor Area (SF/Min)                           78           107          185          292                     375%
 Based on Volume (CF/Min)                              960          1,074        1,864        2,938                    306%
 Based on Weight (LB/Min)                             7,785        10,000       13,125       23,125                    297%
 Average Increase in Transportation Rate                                                                               326%


The size of the permanent equipment (cars E and A) was about 53% larger in floor area,
would hold about 25% more volume, and carry 20% more weight than the temporary
equipment, but the most significant difference is that the permanent elevator travel, on
average, about 2.5 times faster.

As shown by the calculations, the transport rate for the 2 permanent elevators (E and A)
was approximately 3 times the transport rate for the temporary hoist based on floor area,
volume and weight. In effect, the two permanent elevators have the capacity to
transport approximately 3 times the personnel and/or materials as the temporary
equipment.

The permanent freight elevator E was first put into service with an inspection date of July
27, 2016 followed by permanent passenger elevator A on August 28, 2016. Subsequently,
permanent elevator B was inspected on November 7, 2 2016 followed by C and D on
December 5, 2016.
                                                                               Page 53 of 77




The As-Planned as compared to As-Built vertical transportation capacity over time stated
in cubic feet per minute (CF/Min) is shown on the chart below:


              As Planned vs As Suilt Vertical Transportation Rate
                                   CF/Min
     7000
                       A,B,C,D&E
     6000

     5000
                                                           B
     4000

                                                A
     3000

     2000                                   E

     1000

        0
      2/ 6

      3/ 6

      4/ 6

      5/ 6

      6/ 6

      7/ 6

      8/ 6

      9/ 6

     10 16




      2/ 7

      3/ 7

             7
     12 15

      1/ 5




     11 16

     12 16

      1/ 6
          /1

          /1

          /1

          /1

          /1

          /1

          /1

          /1




          /1

          /1

          /1
           1




           1
          /
         0/

         1/




         1/

         0/

         1/
        31

        29

        31

        30

        31

        30

        31

        31

        30




        31

        28

        31
       /3

       /3




       /3

       /3

       /3
     11




                                     As Built       As Planned



                 Figure 24 - As Planned vs As Built Vertical Transportation

C. ZIPPER UNIT DELAY
The late removal of the manlift in turn caused a delay to the zipper units. Prior to the loss
event the contractor was on track to complete the finishes of the last zipper unit on July
21, 2016 (S51K; Nov 30, 2015). A comparison of the pre-loss and as-built completion dates
of the zipper units revealed that all the zipper units were delayed. The delays ranged from
60 to 168 days (45 to 120 working days).

The zipper unit on level 20 suffered the most significant delay. According to the As-built
Schedule (As-built; May 31, 2017) this zipper unit was only completed on December 12,
2016. If the float of 8 working days of this particular unit is considered the impact on the
project completion is 157 days (112 working days).
                                                                                    Page 54 of 77




                                   Figure 25 - Zipper Unit Delay

The impact the loss event had on the original construction approach is evident in the
above assessment of the critical components of this approach.

                            Table 7 - Zipper unit (level 20) delay
 Zipper Unit Completion Impact on completion


 Activity      Planned Finish            Actual Finish             Late     Float   Completion
               (Nov 30, 2015 Schedule)   (May 31, 2017 Schedule)                      Delay

 Zipper Unit   Jun 28, 2016              Dec 12, 2016              120 WD   8 WD      112 WD
 (level 20)
                                                                              Page 55 of 77




D. MILESTONE COMPLETION DELAYS

The As-planned vs As-built analysis method is ordinarily effective to determine the actual
delay to project completion milestones. The review of project milestone completion
dates in section 8.3.4 revealed that the TCO completion dates in the As-built Schedule
do not accurately reflect the milestone completion dates, nor do they reflect the delay
period consistent with policy language which identifies the end of the delay period as
the date when the insured is able to “commence commercial operations in the manner
originally planned” because they represent only the dates when temporary occupancy
certificates were issued and not when units were ready for occupancy. For the purpose
of this claim, and in order to be consistent with the terms of the DSU insurance policy, the
date when units were actually completed and available for occupancy must be
considered.

The unit completion dates were determined by assessing relevant project records and
documentation. The unit completion dates for milestone 2, 3 and 4 could be determined
by utilizing the Move-in Matrix supported by the rent roles. A leasing office and a mock-
up was included in the construction agreement for Milestone 1 (TCO#01) completion.
The project schedules only included the leasing office for completion of Milestone 1. The
first temporary certificate of occupation was issued on July 1, 2016. No conclusive date
for the completion of a mock unit could be established but it would not have been
possible to utilize the mock up unit for its intended purpose without a certificate of
occupancy. The issue date of the first temporary certificate occupation was taken as
the milestone 1 (TCO#1) completion date in the analysis.

Figure 27 indicates the completion dates for each unit. To conclude the As-planned vs
As-built analysis the actual completion dates were compared to the as-planned
completion dates.

Figure 28 compares the intended unit completion dates with the actual unit completion
by superimposing the completion dates on an image of the building.
                                        Page 56 of 77




                                    Milestone 2
                                     (96 Units)
                                    Mar 9, 2017
                                    Milestone 3
                                     (128 Units)
                                    Apr 20, 2017
                                    Milestone 4
                                     (59 Units)
                                    Jul 1, 2017




Figure 26 - Unit completion dates
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                                    Milestone 4                                                                                         PH501
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                                     59 Units PH401                PH402         PH403PH401
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                             38     Oct 27, 2016                              PH201           PH202
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                                    Milestone 33303                                                                                                                                  31
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                             3301     3302                          3304             3305                      3306                         3307                        3308
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                             3201   128  Units 3203
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                             28                                               2801       2802       2803               2804          2805        2806            2807         2808
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                             27      Sep 7, 2016                              2701       2702       2703               2704          2705        2706            2707         2708
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                             26                                               2601       2602       2603               2604          2605        2606            2607         2608
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                             25                                               2501       2502       2503               2504          2505        2506            2507         2508
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                             24                                               2401       2402       2403               2404          2405        2406            2407         2408
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                             23                                               2301       2302       2303               2304          2305        2306            2307         2308
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                             22                                               2201       2202       2203               2204          2205        2206            2207         2208
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                             19                                               1901       1902       1903               1904          1905        1906            1907         1908
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                             18                                               1801       1802       1803               1804          1805        1806            1807         1808
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                             17                                               1701       1702       1703               1704          1705        1706            1707         1708
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                             16                                               1601       1602       1603               1604          1605        1606            1607         1608
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                             15     Milestone 2
                                                                              1501       1502       1503               1504          1505        1506            1507        1508
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                             14                                               1401       1402       1403               1404          1405        1406            1407        1408
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                             12      96 Units                                 1201       1202       1203               1204          1205        1206            1207        1208
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                                     Aug 8, 2016
                                                                              1101       1102       1103               1104          1105        1106            1107        1108


                             10                                               1001       1002       1003               1004          1005        1006            1007        1008
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                             7                                                701        702            703            704           705             706         707          708    7
                             6                                                601        602            603            604           605             606         607          608    6
                             5                                                                                                                                                       5
                                      Milestone 1
                                                                              501        502            503            504           505             506         507          508

                             4                                                401
                                                                                                                                                                                     4
                                      1 Unit
                                                                                         402            403            404           405             406         407          408

                             3
                             2        Feb 12, 2016                                                                                                                                   3
                                                                                                                                                                                     2
                             1
                                                                                                                                                                                     1
    Aug 2016 96 Units            Sep 2016 128 Units               Jan 2017 21 Mar 2017 96                                     May 2017                     4      Jul 2017           1
                   Oct 2016 59 Units                              Feb 2017 60 Apr 2017 90                                     Jun 2017                     3


                      Figure 27 - As-planned vs As-built (Unit Occupancy)

The analysis shows that the intended approach to completion of floors 1-15, followed by
floors 16-31, and finally floors 32-40, was not implemented. Figure 27 graphically shows
                                                                              Page 58 of 77




that the planned upward progression did not happen. On fourteen floors the units were
completed within the same month, whereas on the other floors units were completed at
different times.

The completion of the units commenced in January 2017 and the final unit was
completed by July 1, 2017. 93% of the 283 units were completed by April 27, 2017. Only 8
units were completed from May 1, 2017 to July 1, 2017. It is clear that the slow-down of
unit completion from approximately 90 units per month in March and April 2017 to
approximately 3 per month in the final couple of months was not production driven. It is
likely that these units did not have the prospect to be occupied soon because of the
normal market uptake of units, eliminating the immediate urgency of their completion.
The impact of the delay on completion would be overstated if the completion of the 8
units in the final months is considered in determining the final completion date. To void
overstating the impact of the delay we used April 27, 2017, the date when the bulk of the
units were completed, as the milestone 4 completion date.

Milestone #1 called for the completion of the leasing office and a mock-up unit. A
comparison of the Milestone #1 pre-loss completion date (Feb 12, 2016) with the
completion date reflected in the as-built schedule (Jul 1, 2016) shows a delay of 140 days.
We were advised by the contractor that the delay to completion of the leasing office
and mock-up unit were the result of resequencing of work after the elevator shaft
incident. After the loss event occurred, the contractor focused on the later milestone
dates that would have financial impact on the owner. That is a plausible explanation and
we found no documentation or information to contradict it. Once the occupancy dates
were jeopardized by the loss event, making the scheduled completion date for the
leasing office and mock-up unit would have been relatively insignificant and potentially
of no value to the owner.

It is logical to conclude that the timing of completion of the leasing office and mock up
unit was tied to the delivery of units for occupancy by tenants. From the baseline
schedule one can see that the owner planned to have the leasing office and mock up
unit available approximately six months before the first units would be available for
occupancy. That relationship between delivery of the leasing office and delivery of the
first tenantable units appears to have been maintained. We had no documentation that
confirmed the delivery dates of the mock up unit or leasing office. In absence of this
                                                                              Page 59 of 77




information and given that TCO#1 had no financial significance to the owner in relation
to the other 3 milestones, the analysis did not further consider the TCO#01 delay.

Because the intended phased completion approach was not followed, the typical direct
comparison between as-planned and as-built milestone completion dates had to be
approached differently to ensure a sensible comparison can be made. To address the
requirements of milestone completion, two approaches were followed for the
comparison:

 •   A floor-based comparison and,
 •   A unit-based comparison

In the floor-based comparison, the date when the last unit for the floors that forms part
of the milestone was taken as the completion date

                   Table 8 -As-planned vs As-built (floor completion)

 Completion Milestone                              Completion date of last unit

 Milestone 2 - Floor 1-15                                  May 2, 2017
 Milestone 3 - Floor 16-31                                 May 2, 2017

 Milestone 4 - Floor 32-40                                  Jul 1, 2017

When the requirements of this claim are considered a unit based comparison might be
more suitable as it relates directly to the actual occupancy of units.

                   Table 9 - As-planned vs As-built (Unit completion)

 Completion Milestone                          Completion date of total number of
                                                    units of the milestone

 Milestone 2 - 96 Units                                     Mar 9, 2017

 Milestone 3 – 128 Units                                   Apr 20, 2017

 Milestone 4 - 59 Units                             Jul 1, 2017 ≈ April 27, 2017

The first 96 units were completed by March 9, 2017. Therefore, this date can be taken as
the Milestone 2 completion date. To achieve Milestone 3, a total of 224 units (96 units for
Milestone 2 + 128 units for milestone 3) should have completed, this was done by April 20,
2017. Milestone 4 required all units to be complete. The last unit was completed on July
                                                                                                                          Page 60 of 77




1, 2017. As explained above, April 27, 2017, the date when 93% of units were completed
is taken as the completion date to avoid results being skewed by the non-production
driven delivery of 8 units in the last couple of months.

To conclude the analysis actual unit completion dates were compared with the planned
unit completion dates.



      Milestones
      Completion
                                Feb 12, 2016              Jul 1, 2016
  Milestone 1                   M1             140 days    M1
  Lease office, Mock-up Unit)
                                                                    Aug 8, 2016                                            Mar 9, 2017
                                                                                                    213 days
  Milestone 2                                                           96                                                    96
  Floor 1-15; 96 Units
                                                                             Sep 7, 2016                                        Apr 20, 2017
  Milestone 3                                                                                            225 days                        128
  Floor 16-31; 128 Units                                                     128

  Milestone 4                                                                        Oct 27, 2016                               Apr 27, 2017
  Floor 32-40; 59 Units)                                                              59                       182 days
                                                                                                                                          59




                           Figure 28 - Pre-loss completion dates vs As-built completion dates

If the actual delay is considered in terms of the delay to commercial operations as
described in the DSU Policy, it is clear that the planned completion of the units was
extensively delayed.

CONCLUSIONS
The following conclusions can be made when the information produced by the As-
planned vs As-built is considered:

    a) The late completion of the elevator installation negatively affected progress in a
           number of ways.
    b) Vertical transportation was severely compromised. For approximately a 6-month
           period the internal elevators were not available for construction use as intended.
           The two permanent elevators have the capacity to transport approximately 3
           times the personnel and/or materials as the temporary equipment.
    c) The analysis showed that a 99 day delay to the elevator installation and the
           resulting impact on vertical transportation caused a 157 days day delay to the
           completion of the zipper units.
                                                                              Page 61 of 77




   d) The completion milestones were extensively delayed:

        Milestone 1 was delayed from Feb 12, 2016 to Jul 1, 2016             140 Days

        Milestone 2 was delayed from August 8, 2016 to March 9, 2016         213 Days

        Milestone 3 was delayed from September 7, 2016 to April 20, 2017     225 Days

        Milestone 4 was delayed from October 27, 2016 to July 1, 2017        182 Days

8.2.7 WINDOW ANALYSIS
One of the benefits of the Window Analysis is that it highlights delayed activities within
the window period under consideration. Despite the fact that a limited number of
schedules updates are available, valuable information on the impact of delays at certain
periods of time during construction can still be gleaned by applying this method. The
following steps (based on the recommended steps for MIP 3.3 contained in the AACE
29R-03) were followed to execute this method:

   a) The first schedule update utilized for the analysis process included all contract time
        extensions granted at that stage of the project.
   b) All delayed activities in each update were identified to determine the impact on
        the critical path.
   c) All available schedule updates were considered independently.
   d) The impact on the 4 project milestones were considered where applicable.
   e) Where possible schedules updates for adjoining periods were compared.
   f) Float was considered to identify the controlling activities.
   g) Changes to the project completion date based on the critical path activities were
        considered.
   h) During February 2016 a recovery schedule was produced that re-sequenced
        activities and changed the schedule logic. Updates to the baseline schedule and
        recovery schedule had to be considered independently.
   i)   Activities that showed as delayed were identified.
   j)   The analysis focused on the specific delays within the update period under
        consideration. It was not possible to consider net losses over the entire period
        because of the limited number of schedules available.
                                                                                Page 62 of 77




ANALYSIS

JAN 4, 2016 SCHEDULE (update of pre-loss schedule)

The first schedule update after the occurrence of the loss event was done on January 4,
2016, approximately a month after the less event. The activities that were most
significantly delayed at that stage were the punch list & final agency inspection to reach
TCO#1 (7 days behind), the pour of level 40 (6 days behind) and the manlift removal (5
days behind).

                          Table 10 - Jan 4, 2016 Schedule Update

                  JAN 4, 2016 SCHEDULE UPDATE                          S53K

           Most Significant Delays                               Days behind*
           1. TCO #1 Punch list, final agency inspection                -7
           2. Tower Level 40 Pour                                       -6
           3. Manlift                                                   -5
         * Reporting on baseline schedule


The impact of the loss event on the elevator installation was not yet recognized as critical,
but the impact of the loss event on the manlift removal started to become critical.

FEB 16, 2016 RECOVERY SCHEDULE (new schedule)

A recovery schedule was produced on February 16, 2016. A large number of activities
were re-sequence in an attempt to minimize the impact of the loss event. It appears that
with the mitigation measures introduced, the aim was to still attempt to achieve the pre-
loss final completion date of the project (TCO#4). TCO#2 and TCO#3 were forecasted
to be 3 working days late. The target completion date for TCO#1 was April 1, 2016,
substantially later than the pre-loss completion date of February 12, 2016.

                          Table 11 - Feb16, 2016 Schedule Update

                   FEB 16, 2016 SCHEDULE UPDATE                               S53K

       Activity                                                         Days behind
       1. TCO #1 Punch list, final agency inspection                          -21
       2. Manlift                                                              -1
                                                                                   Page 63 of 77




        3. Level 4 – 36 Zipper Units                                          -1
        4. Elevator Jump 2 (20 -40) Build Car Frames – Inspect                -1
        5. Machine Room Fly Machine – Drop line                               -1


The most extensive delay reflected in the recovery schedule is the completion of TCO#1.
The manlift, level 4-36 zipper units, elevator jump 2 and the machine room were on the
critical path with a -1 day float. In reviewing the results of the February 2016 window, it is
important to consider that the recovery schedule incorporates acceleration, duration
compression, and logic changes that would mask the actual delay due to the loss event
that was being felt on the project.

MAR 2, 2016 SCHEDULE (update of pre-loss schedule)

The March 2, 2016 schedule update is the last update that was done using the pre-loss
schedule as a basis to measure progress. In this schedule update the impact of the loss
event on progress became clearly evident. The schedule reflected a large number of
activities with a negative float. The activities that suffered the most extensive delays are
summarized in table 12. The extended duration of the elevator installation has resulted in
delay in the removal of the manlift. This has in turn delayed the completion of the zipper
units on 32 different floors. As a result, the commissioning, punch activities and inspections
on these floors were also delayed. Like the other activities mentioned, the weather
allowance and the level 42 slab also showed a negative float of 15 days.

                         Table 12 – Mar 2, 2016 Schedule Update

                   MAR 2, 2016 SCHEDULE UPDATE                              S56K

        Activity                                                       Days behind
        1.   Elevator Jump 2 (20-40)                                        -15
        2.   Machine Room                                                   -15
        3.   Manlift                                                        -15
        4.   Zipper Units level 5 -31                                       -15
        5.   Commissioning; Punch; Inspections                              -15
        6.   Weather allowance                                              -15
        7.   Pour Level 42                                                  -15
                                                                                Page 64 of 77




APR 11, 2016 SCHEDULE (update of recovery schedule)

The April 11, 2016 Schedule update appears to utilize the February 16, 2016 recovery
schedule as basis to report progress. According to this update most recovery schedule
activities were on track except for a slight delay to finishes, inspection and the weather
allowance.

                         Table 13 - Apr 11, 2016 Schedule Update

                  APR 11, 2016 SCHEDULE UPDATE                            S58K

       Activity                                                       Days behind

        1.   Level 19 -35 Interior Rough-in, Wood Floorings                -1
        2.   Level 40 Finishes                                             -1
        3.   TCO #4 Punch list, inspection                                 -1
        4.   Weather allowance                                             -1

JUN 3, 2016 SCHEDULE (update of recovery schedule)

The final schedule update was done on June 3, 2016. This update also appears to report
on the February 16, 2016 recovery schedule.

                          Table 14 - Jun 3, 2016 Schedule Update

                    JUN 3, 2016 SCHEDULE UPDATE                            S60L

       Activity                                                        Days behind

       1.    Level 40 Interior Rough-Ins and Interior Build Out            -13
       2.    Elevator Jump 2 (20-40)                                       -12
       3.    P-03 Main Entry Glass Storefront - Main Entry Canopy          -12
       4.    P-06 Column Covers Main Entry Level 1 – Layout & Clips        -12


At this stage of the project the Level 40 Interior Rough-Ins and Interior Build Out were
behind schedule. The elevator jump 2 was still not completed and was 12 days behind.
The main entry storefront glass and column covers were also 12 days behind. The impact
of these delays is further considered in section 8.3.8.
                                                                               Page 65 of 77




CONCLUSIONS

The following conclusions can be drawn based on the findings of the Window Analysis:

   a) All the schedule updates based on the pre-loss schedule shows significant delays
      to the elevator installation and the consequential delay to the manlift removal
      activity.
   b) The late removal of the manlift in turn delayed the completion of the zipper units
      on 32 different floors. It appears that the delayed zipper units impacted the punch
      and inspection activities. The delayed completion of the glass façade at the
      zipper units impacted the building commissioning and system performance testing
      activities because a fully enclosed building is required to do some of the
      commission tests.
   c) These delays are a clear indication of the knock-on effect of the loss event.
   d) The schedule updates also show that the level 40 and 42 slabs were poured later
      than planned, along with delays to the main entry storefront and column cover
      on level 1. The impact of these delays is considered in section 8.2.8.
                                                                                                Page 66 of 77




8.2.8 OTHER DELAYS
The Windows Analysis was utilized to identify delays that appear not to be related to the
loss event. In this section the impacts of these independent delays are considered.

A. CONCRETE TOWER DELAYS
The review of the contractual documents showed that changes to the penthouse units
delayed the pouring of the slabs on level 40, 41 and 42. The level that was impacted the
most was level 42. This level was delayed for 37 working days. If the float is taken into
account, the forecasted impact on completion is 29 working days. It appears that the
impact of this delay on completion was mitigated to a large extent. The contractor
submitted a claim for 8 working days as a result of this delay to the owner. The owner
offered 5 working days but it seems that ultimately no extension to the contract period
was officially granted.
                           Table 15 - Pre-loss Schedule Corrections
 Tower Concrete Impact on completion

                        Planned Finish        Actual Finish                                      Impact on
       Activity                                                           Late        Float
                        (Pre-loss Schedule)   (As-built Schedule)                                completion

 Pour Level 40 Slab     Jul 13, 2015          May 11, 2016                18 WD       8 WD           8 WD

 Pour Level 41 Slab     Jan 11, 2016                   115d
                                              Feb 22, 2016                   Jump 1 (1
                                                                          31 WD        -15), 7.67d/floor
                                                                                    8 WD             23 WD
                                                               146d                      Jump 2 (16 - 28), 11.23d/floor
 Pour Level 42 Slab     Jan 15, 2016          Mar 7, 2016                 37 WD       8WD            29 WD
                                                           Pour Level 42 Jan 15, 2016
The level 42 slab delay was concurrent with the loss event repairs          15d delay.   When the
                                                                                Machine Room
principles of dealing with concurrent delays in DSU insurance claims (explained in18d       section
                                                                                              Elevator Equipment
5.3.2) are applied the insured delay (the loss event repairs) is indemnified
                                                                    4.75d/floor notwithstanding
                                                                                       67d       Jump 3 (29 -40)
the occurrence of the uninsured delay.


                                                                                                                          Jump 1
                                                     Loss event repairs                107d
                                                        115d        Pour LevelJump
                                                                                42 1 (137d
                                                                                        -15), 7.67d/floor
                                                               146d                      Jump 2 (16 - 28), 11.23d/floor
                                                                                                            96d           Machine
                  Figure 29 - Concrete slab delay and Loss event repairs
                                                         Pour Level 42 Jan 15, 2016      79d         Elevator Equ
In the construction industry concurrency is often considered by              determining
                                                                       15d Machine Room   the
                                                                                                   33d Service
controlling delay. If this approach is followed, the loss event repairs will be the driving
                                                                                   18d Elevator Equipment
                                                                                             5.58d/floor
                                                                4.75d/floor    67d        Jump 3 (29 -40)
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                                                                                                                          Jump 1
                                                                                  Page 67 of 77




delay as it started before and continued after the level 42 slab delay. In this approach,
the driving delay takes precedence and entitlement is established for the full extent of
the driving delay.

B. CONCRETE TOWER RELATIONSHIP WITH THE MACHINE ROOM

The elevator machine room is located on level 41 with the level 42 helipad slab forming
the roof of the machine room.

If the concurrency is reviewed from a sequencing perspective it is clear that even if the
level 42 slab was completed by the planned completion date of January 15, 2016 it
would not have reduced the project duration.

A large number of clean up and repair activities were still taking place during the period
the level 42 slab was delayed (Jan 15, 2016 to Mar 7, 2016). Even if the machine room
was ready shortly after the planned completion date (Jan 15, 2016) of the level 42 slab
work on the elevator installation could not have continued as clean up and repair
activities continued well into April 2016. Figure 31 shows the relationship between the level
42 slab delay and the repair activities.




                     Figure 30 - Loss event repairs Jan 15, 2016 to Mar 7, 2016
                                                                               Page 68 of 77




C. LEVEL 40 INTERIOR ROUGH-INS AND BUILD OUT

The June 3, 2016 schedule shows that several interior mechanical, electrical and
plumbing (MEP) rough-in activities and one build out activity might be delayed on level
40. The forecasted delays ranged from 8 to13 days. Based on the available schedule
updates, it was not possible to track these activities for the final months of the project to
determine whether the delay did materialize. It is likely that this delay was a result of the
vertical transportation challenges experienced due to the impact of the loss event on
the elevator installation, creating a bottleneck in timeous delivery of material and workers
to the top floor.

Assessing the potential level 40 Interior rough-ins delay in relation with other delays it
revealed that this delay was concurrent with the elevator installation delay. Figure 32
shows the relationship between the level 40 interior rough-ins activities and elevator
activities.




      Figure 31 - Level 40 Rough-Ins Delay vs Elevator Delay (Jun 3, 2016 Schedule)

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The As-built schedule shows that the elevator delay persisted for much longer than the
level 40 delay. Figure 33 provides the completion dates of the activities as reflected in
the As-built Schedule. If the activity with latest completion date from this group of level
40 activities is compared with the activity with latest completion date from the elevator
activities it is evident that the elevator delay persisted for almost 2 months longer.

   •   T.INT40.205 Prime & Paint – Oct 6, 2016
   •   A13410 State Inspection Passenger Cars – Nov 29, 2016

When the principles of dealing with concurrent delays in DSU insurance claims (explained
in section 5.3.2) are applied the insured delay (the loss event repairs) is indemnified
notwithstanding the occurrence of the uninsured delay.




       Figure 32 - Level 40 Rough-Ins Delay vs Elevator Delay (As-built Schedule)

D. FILL IN CURTAIN WALL, STOREFRONT AND CANOPIES
The June 3, 2016 schedule update shows that the activities associated with the curtain
wall, storefront, main entry canopy and column covers on level P-03, P-04, P-06 & P-07
were delayed. The delays range from 7 to 12 working days. The schedule further shows
that the predecessor or activity that had to be completed before the work on the
delayed activities could commence is activity T.ML.215 Remove Manlift – refer to the
schedule extract (Figure 34).
                                                                                 Page 70 of 77




The removal of the manlift was delayed by the impact of the late completion of the
elevator installation as a result of the loss event. The delay to the curtain wall, storefront,
main entry canopy and column covers on level P-03, P-04, P-06 & P-07 is, therefore, a
direct consequence of the loss event. If the loss event did not delay the driving activity
of this group of delayed activities it would have been possible to complete them on time.




                Figure 33 - Fill in Curtain Wall, Storefront, Canopy & Covers

E. TCO #1 PUNCH LIST, FINAL AGENCY INSPECTION
The February 16, 2016 recovery schedule assessed as part of the Window Analysis showed
a delay of 21 working days to activities relating to the completion of the leasing office
(referred to as sales office in the schedule). In the project schedules the TCO#1 milestone
completion date is determined by the sales office completion. The schedules show that
the activity: T.INT01.340 Sales Office Build Out, a predecessor to the completion activities
                                                                                    Page 71 of 77




(punch list and final agency inspection), delayed the sales office completion activities.
Before the loss event it appears that the sales office build out was progressing well. The
sales office build out showed a slight delay of 3 working days in the Nov 30, 2015, pre-loss
schedule. TCO#02 , TCO#3 and TCO#4 showed 9, 7 & 0 working delay respectively in this
schedule. Schedule updates were reviewed to assess progress of the sales office build
out activity after the occurrence of the loss event:
                               Table 16 - Lease Office Delay
 Schedule                                Sales Office Build    Sales Office Build        Float
                                             Out Start             Out End

 Nov 30, 2015 (Pre-loss Schedule)          Nov 30, 2015          Jan 26, 2016             -3
 Feb 16, 2016 (Recovery Schedule)          Nov 30, 2015          Mar 14, 2016             -20
 Apr 11, 2016 (Schedule update)            Nov 30, 2015          Apr 22, 2016             -64
 May 31, 2017 (As-built Schedule)          Nov 30, 2015          Apr 22, 2016             -64

The schedules do not indicate what caused the delay to the sales office build out activity
but it appears that progress to this activity started to become significantly delayed when
the loss event occurred. In the first two month after the loss event the sales office build
out was delayed by 17 working days. In the subsequent two and a half months the sales
office was delayed by a further 44 working days. A comparison of the sales office build
out delay with the elevator repair delay revealed that these two delays were concurrent.




                Figure 34 - Sales office loss and event repairs concurrency

No contemporaneous documentation that shed light on the question whether the loss
event impacted progress of the sales office could be located. To further investigate the
matter a meeting was arranged with the Swinerton project staff that were involved at
that stage of the project. In the meeting it was revealed that as a result of the loss event
                                                                              Page 72 of 77




numerous activities had to be re-sequencing and accelerated. In the mitigation process
priority was given to the completion of the rental units to minimize the potential risk of
financial loss. This approach is confirmed by the February 16, 2016, recovery schedule.
The recovery schedule, the mitigation plan developed to address the consequences of
the loss event, provided for the completion of milestone 2, 3 and 4 by the pre-loss
completion dates but only provided for a completion date of TCO#1 20 working days
after the pre-loss completion date.

In addition, the access to the lobby area of the sales office was severely restricted as a
result of the re-sequencing of activities. Safe access to the sales office was a requirement
to obtain a temporary certificate of occupation. The completion of external paving to
provide access to the leasing was impacted by the re-sequencing and acceleration of
activities. These circumstances would not have occurred if it was not for the loss event. It
is evident that although the loss event did not directly impact the sales office the
mitigating action taken to address the impact of the loss event did indeed impact the
progress of the sales office build out. Therefore, the principles employed to deal with
concurrent delays in DSU insurance claims (explained in section 5.3.2) can also be utilized
in this instance. When these principles are applied the insured delay (the loss event
repairs) is indemnified notwithstanding the occurrence of the uninsured delay.
                                                                                  Page 73 of 77




8.2.9 CALCULATION OF THE PERIOD OF DELAY
The policy provide coverage for the impact of the loss event during the Period of Delay.
According to the policy the Period of Delay should be calculated as follows:

            Date on which tenant
                                                             Actual date of
             occupancy would          Period of
                                                           occupancy (or date
             have commenced            Delay              when it was possible)
              but for the loss


ACTUAL DATE OF OCCUPANCY
The as-planned vs as-built analysis provides an accurate reflection of the actual date of
project completion or the date when occupancy of the units was possible. The project
milestone dates determined by the as-planned vs as-built analysis were utilized as the
end dates for the Period of Delay for each milestone analyzed.

OCCUPANCY BUT FOR THE LOSS
The starting point of the Period of Delay is the date on which occupancy would have
commenced but for the loss. The final pre-loss schedule update reflects the date on
which the project would have completed but for the loss. The final pre-loss schedule
update was done on Nov 30, 2015, 2 days before the loss event. This schedule update
takes into account all delays experienced prior to the loss event.

Figure 36, an extract from the pre-loss schedule, shows that the delays experienced prior
to loss event would impact the milestone completion dates as follows:

  •   TCO#1 – 3 working days, delaying the milestone completion until Feb 12, 2016
  •   TCO#2 – 7 working days, delaying the milestone completion until Aug 8, 2016
  •   TCO#3 – 9 working days, delaying the milestone completion until Sep 7, 2016
  •   TCO#4 – no delay, the completion milestone remains Oct 27, 2016




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                    Figure 35 - Nov 30, 2016 Pre-loss Schedule Update

The policy only provides coverage for the loss event and the consequential delay but
does not provide coverage for any independent delays. The Window Analysis was utilized
to identify the critical delays that occurred after the loss event. All the delays identified
were assessed to determine whether they are loss related (section 8.3.8). The assessment
revealed that only the tower concrete delay on level 42 was not directly related to the
loss event. The contractor requested a 8 working day contract period but it seems that
ultimately no extension of the contract period was officially granted.

Further analysis showed that the level 42 delay was concurrent with the loss related
elevator delay. When the principles of dealing with concurrent delays in DSU insurance
claims (explained in section 5.3.2) are applied, the insured delay (the loss event repairs)
is indemnified notwithstanding the occurrence of an uninsured non loss related delay.
When the concurrency is evaluated from a construction industry perspective, the
elevator delay was the driving delay and therefore takes precedence.

It is not possible to establish whether level 42 delay would have occurred if the loss event
did not take place. The analysis shows that the change to the penthouse level that
resulted in the level 42 delay took place within the float period created by the loss event,
eliminating any possibility that the level 42 delay will impact the completion date. It is
unclear if the decision to make change to the penthouse level would have been made
but for the loss event. In considering all these factors it is evident that an adjustment of
the date of occupancy but for the loss to accommodate the level 42 delay is not
justifiable.

Figure 37 shows how the Period of Delay was calculated utilizing the results of the analysis.
                                                                                                                                            Page 75 of 77




      Milestones
      Completion
                                Feb 12, 2016                            Jul 1, 2016
  Milestone 1                   M1                     140 days          M1
  Lease office, Mock-up Unit)
                                                                                  Aug 8, 2016                                                  Mar 9, 2017
                                                                                                                  213 days
  Milestone 2                                                                         96                                                          96
  Floor 1-15; 96 Units
                                                                                           Sep 7, 2016                                              Apr 20, 2017
  Milestone 3                                                                              128                         225 days                              128
  Floor 16-31; 128 Units

  Milestone 4                                                                                      Oct 27, 2016                                     Apr 27, 2017
                                   Date of occupancy but for the loss                                                        182 days
  Floor 32-40; 59 Units)                                                                            59                                                        59
                                   Actual date of occupancy

                                               Figure 36 - Period of Delay Calculation
Table 17 provides the results of the analysis expressed as the Period of Delay as defined
by the policy.
                                               Table 17 - Period of Delay Conclusion

                                                 Date on which tenant                                                               Actual date of
    Unit Completion
                                                  occupancy would                          Period of                              occupancy (or date
      Milestones                                 have commence but                                                                   when it was
                                                      for the loss
                                                                                            Delay                                     possible)

 Milestone 1
 Leasing office/Mock up unit
                                                         Feb 12, 2016                            140 days                                Jul 1, 2016

 Milestone 2
                                                          Aug 8, 2016                            213 days                               Mar 9, 2017
 Floor 1-15; 96 Units
 Milestone 3
                                                          Sep 7, 2016                            225 days                               Apr 20, 2017
 Floor 16-31; 128 Units
 Milestone 4
                                                         Oct 27, 2016                            182 days                               Apr 27, 2017
 Floor 32-40; 59 Units
                                                                                        Page 76 of 77




9. CONCLUSIONS (STEP 4)

                                     • The objective of the analysis is to determine Period of Delay,
    Review contractual                 the number of days the planned occupation of the units was
       information                     delayed due to the loss event. The Period of Delay should be
                            STEP 1     determined.
       Opine on how                  • No guidance is provided in the policy documents on how
   contractual documents               concurrent insured and uninsured delays should be dealt
      informs analysis                 with. Standard industry practice would apply.


                                     The findings of 3 industry recognized delay analysis methods
                                     applied are summarized below:
                                     Window analysis:
                                     • Significant delays to the elevator installation caused a delay
   Determine whether                   to the manlift removal. This in turn delayed the critical closing
    the loss delayed                   of the curtain wall weather barrier by 97 days and affected
      the start up                     completion of the zipper units on 32 different floors.
                           STEP 2




                                     • These delays are an indication of the knock-on effect of the
        Opine on                       loss event.
        criticality
                                     As-planned vs As-built analysis:.
                                     • The analysis showed that a delay to the elevator installation
                                       and the resulting impact on vertical transportation caused a
                                       182 day delay to the completion of the project. 93% of the
                                       units had been turned over for occupancy by April 27, 2017
                                     • The milestone completion dates were extensively delayed.
                                       Milestone 1 was delayed for 140 days, Milestone 2 was
                                       delayed for 213 days, milestone 3 was delayed for 225 days
                                       and milestone 4 was delayed for 182 days
   Consider findings of              Time Impact Analysis:
       Step 1 - 3
                           STEP 3




                                     • The loss event would have delayed final completion of the
                                       project by 129 days resulting in a delay to the commencement
          Final                        of unit occupation from August 8, 2016 to after December 15,
       conclusions                     2016
                                     The analysis methods applied were utilized to calculate the
                                     Period of Delay of the loss event.
                                     • The calculations show that TCO#1 was delayed by 140 days,
                                       TCO#2 by 213 days, and TCO#4 by 182 days
                                                                             Page 77 of 77




EXHIBITS
Exhibit A – CV’s for Mr. Bumgardner, Dr. Hendrik Prinsloo and Mr. Brian Hill; Rate Sheet &
Mr. Bumgardner’s case list

Exhibit B – Publications by Mr. Bumgardner

Exhibit C – List of documents reviewed




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1. https://www.constructiondive.com/news/report-elevator-related-construction-
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3. https://www.londonengineeringgroup.com
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